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 1    COVINGTON & BURLING LLP
      Mitchell A. Kamin (Bar No. 202788)
 2     mkamin@cov.com
      Neema T. Sahni (Bar No. 274240)
 3     nsahni@cov.com
      Mark Y. Chen (Bar No. 310450)
 4     mychen@cov.com
      Rebecca G. Van Tassell (Bar No. 310909)
 5     rvantassell@cov.com
      1999 Avenue of the Stars, Suite 3500
 6    Los Angeles, CA 90067-4643
      Telephone: + 1 424-332-4800
 7    Facsimile: + 1 424-332-4749
 8    Attorneys for Defendant State of Qatar
 9
                           UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
11

12    BROIDY CAPITAL MANAGEMENT LLC                           Civil Case No.:
      and ELLIOTT BROIDY
13                                                            2:18-CV-02421-JFW-(Ex)
14          Plaintiffs,

15                                                            DEFENDANT STATE OF QATAR’S
            v.
                                                              OBJECTIONS TO THE
16                                                            DECLARATION OF LEE S.
      STATE OF QATAR, STONINGTON
17                                                            WOLOSKY
      STRATEGIES LLC, NICOLAS D.
18    MUZIN, GLOBAL RISK ADVISORS
      LLC, KEVIN CHALKER, DAVID MARK                          [Filed Concurrently with Reply in
19    POWELL, MOHAMMED BIN HAMAD                              Support of Defendant State of Qatar’s
20    BIN KHALIFA AL THANI, AHMED AL-                         Motion to Dismiss; Objections to the
      RUMAIHI, and DOES 1-10,                                 Declaration of Joshua N. Friedman]
21

22          Defendants.                                       Hearing Date: July 30, 2018
                                                              Time: 1:30 p.m.
23                                                            Courtroom: 7A
24                                                            Judge: Hon. John F. Walter
25                                                            Complaint Filed: March 26, 2018
26                                                            Amended Complaint: May 24, 2018
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                   DEFENDANT STATE OF QATAR’S OBJECTIONS TO THE DECLARATION OF LEE S. WOLOSKY
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 1          Defendant State of Qatar (“Qatar”) objects to the Declaration of Lee S. Wolosky in
 2    Support of Plaintiffs’ Opposition to Qatar’s Motion to Dismiss (Dkt. 134, the “Wolosky
 3    Declaration”) for the reasons set forth below, and respectfully requests that the
 4    declaration and attached exhibits be stricken entirely from the record.
 5          First, the third-party discovery material contained in the Wolosky Declaration and
 6    its accompanying exhibits 1 is included in neither Plaintiffs’ First Amended Complaint
 7    (“FAC”), nor in their Original Complaint. See Dkt. 1, 47. Accordingly, this Court may
 8    not consider that evidence in deciding Qatar’s motion to dismiss, which mounts only a
 9    facial jurisdictional challenge to the FAC. Terenkian v. Republic of Iraq, 694 F.3d 1122,
10    1131 (9th Cir. 2012) (where a defendant claims that the allegations in a complaint are
11    “insufficient on their face to invoke federal jurisdiction,” the challenge is treated as a
12    “motion to dismiss on the pleadings for lack of jurisdiction.” (emphasis added) (internal
13    quotation marks omitted)).
14          In its Motion to Dismiss, Qatar contends that, even if the facts alleged by Plaintiffs
15    were true, they fail to establish this Court’s jurisdiction over Qatar under the Foreign
16    Sovereign Immunities Act. Dkt. 112 at 3 n.2, 8:19–25. In adjudicating that facial
17    challenge, this Court must “restrict[] itself to the face of the pleadings” and thus may not
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      consider the extrinsic evidence that Plaintiffs proffer in the Wolosky Declaration and the
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      attached exhibits. 2 Osborn v. United States, 918 F.2d 724, 729 n.6 (8th Cir. 1990); see
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      also Doe v. Holy See, 557 F.3d 1066, 1073 (9th Cir. 2009); Safe Air for Everyone v.
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      Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004).
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        The exhibits to the Wolosky Declaration have been filed under seal.
      2
25      The only documents outside of the pleadings that the Court may consider in deciding a
      facial attack are those that would be proper subjects of judicial notice. Lauwrier v.
26    Garcia, No. CV 12-12-007381 MMM (SHx), 2013 WL 11238497, at *2 (C.D. Cal. Mar.
      8, 2013). Plaintiffs have not sought judicial notice of the exhibits attached to the
27    Wolosky Declaration.
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                    DEFENDANT STATE OF QATAR’S OBJECTIONS TO THE DECLARATION OF LEE S. WOLOSKY
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 1          Second, the third-party discovery material attached to the Wolosky Declaration is
 2    entirely irrelevant to the Court’s adjudication of Qatar’s motion to dismiss. Plaintiffs’
 3    opposition brief barely mentions the Wolosky Declaration, showing that the declaration is
 4    intended to distract the Court with unfounded conspiracy theories that have no legal
 5    relevance to Qatar’s facial jurisdictional challenge. In their brief, Plaintiffs reference the
 6    Wolosky Declaration only three times: (1) in a “see also” citation for one sentence in
 7    their statement of facts, Dkt. 133 at 3:10; (2) in a footnote as support for the conclusory
 8    assertion that Plaintiffs should be allowed to undertake jurisdictional discovery and
 9    amend the FAC, id. at 5 n.3; and (3) in a citation for support that Qatar was properly
10    served (which Qatar does not dispute), id. at 20:4. Rather than demonstrating “the need
11    for jurisdictional discovery or an opportunity to amend” as Plaintiffs contend, id. at 5 n.3,
12    the cherry-picked portions of third-party discovery submitted by Plaintiffs do nothing to
13    advance their claim to jurisdiction.
14          In sum, the Wolosky Declaration—like the Friedman Declaration—is nothing
15    more than Plaintiffs’ last-ditch plea for yet another opportunity to amend the FAC,
16    having now failed twice to establish a basis for this Court to exercise jurisdiction over
17    Qatar. Its contents are of no relevance to—and cannot be considered in connection
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      with—Qatar’s facial jurisdictional challenge to the FAC. Indeed, Plaintiffs’ own brief
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      confirms that there is no basis for the Court to consider these materials in connection with
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      deciding Qatar’s motion to dismiss. For these reasons, Qatar respectfully requests that
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      the Court strike the entirety of the Wolosky Declaration and the attached exhibits.
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23
      Dated: July 16, 2018                             Respectfully submitted,
24

25                                                     COVINGTON & BURLING LLP
26                                                     By: /s/ Mitchell A. Kamin
27                                                          MITCHELL A. KAMIN
                                                            Attorneys for Defendant State of Qatar
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                    DEFENDANT STATE OF QATAR’S OBJECTIONS TO THE DECLARATION OF LEE S. WOLOSKY
